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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION

United States of America

versus                                                 Case Number: 7:19−cr−01097

Mariano Benjamin Gutierrez−Munoz


                      NOTICE OF NON−COMPLIANCE

The appellant (or counsel for the appellant, if represented) has failed to:

     • Pay the notice of appeal filing fee.
     • Submit the DKT13 transcript order form.


Date: November 7, 2024.

                                                                      Nathan Ochsner, Clerk
